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  1 Defendants’ Disputed Post Trial Finding of Fact No. 3:
  2            During the course of trial, Plaintiff Yuga Labs, Inc. (“Yuga”) did not cross-
  3 examine Mr. Ripps on any portion of his declaration and left the entirety of the
  4 declaration unchallenged. Trial Tr. [Ripps] 267:8-269:5.
  5             Plaintiff’s Basis for Dispute:
  6            Yuga Labs did not leave Mr. Ripps’ declaration “unchallenged.” Evidence
  7 admitted at trial disproves the core of Mr. Ripps’ testimony. One of the glaring
  8 instances where the evidence contradicts Mr. Ripps’ testimony is when, in his trial
  9 declaration, Mr. Ripps testified that he “never reached a conclusion on what
 10 ApeMarket would actually be . . . .” Ripps Decl. (Dkt. 346) ¶ 178. However, at
 11 trial Mr. Cahen confirmed that ApeMarket was ready to launch within a matter of
 12 days. Trial Tr. at 247:10-12 (“Q: And there was a ready-to-go Ape Market by
 13 February – excuse me – by June 24, 2022? A: Among other things, yes[.]”).
 14 Another glaring contradiction is that Mr. Ripps testified that his “intention in
 15 making the RR/BAYC artwork was not to monetize Yuga Labs’ brand.” Ripps
 16 Decl. (Dkt. 346) ¶ 182. However, text messages entered into evidence
 17 demonstrated that Defendants intended to “make like a million dollars” off of their
 18 infringement. JTX-1574. Evidence further entered at trial depicted Mr. Ripps
 19 publicly bragging about the millions of dollars he made off of his use of Yuga
 20 Labs’ marks. See Solano Decl. (Dkt. 342) ¶ 72 (“Based on my review of public
 21 Twitter posts produced in discovery, Mr. Ripps boasted that he made over $1.2
 22 million on his scam, implying that no one could stop him from counterfeiting NFTs
 23 and harming the goodwill of the BAYC brand.”). Mr. Ripps’ associates also
 24 confirmed this financial motive. JTX-801.208 (Mr. Cahen: “priorities: getting
 25 RRBAYC to sell out by creating demand + getting BAYC and MAYC users to call
 26 our marketplace their new home [] and collecting royalties at a fraction of what the
 27 other big dogs are charging [] which will be considerable passive income if we
 28 strike the right balance”); JTX-1 at ¶ 11 (“I understood, based on more than a few

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  1 conversations with Defendants, that the Business Venture was expected to make
  2 money by selling RR/BAYC NFTs and by potentially generating transaction fees
  3 from the sale of NFTs on Ape Market.”). Mr. Ripps can attempt to couch his lies in
  4 “sarcasm,” but the ultimate result was confusion in the marketplace and a
  5 substantial payday for Defendants.
  6            Moreover, at trial, Yuga Labs demonstrated that Mr. Ripps is an unreliable
  7 witness. During cross-examination, Mr. Ripps admitted to his dishonesty during
  8 discovery and his lies in prior declarations submitted under oath. Trial Tr. at
  9 268:12-25; see also JTX-1541 (Jan. 17, 2023 Ripps verification stating that he has
 10 “produced all responsive documents that I have been able to locate after a
 11 reasonable search”); Dkt. 109-42 (Feb. 17, 2023 Ripps declaration stating that he
 12 has “re-investigated my platforms and taken reasonable efforts to search for
 13 additional material for collection”); Dkt. 158 (Mar. 21, 2023 Ripps declaration
 14 stating under penalty of perjury that he has “produced all relevant, nonprivileged
 15 documents”). Despite the repeated, under-oath, and Court-ordered assurances, that
 16 they had searched for and produced all relevant documents, Defendants withheld
 17 numerous documents (including their text messages with each other) until March
 18 21, 2023 — after Yuga Labs had filed its motion for summary judgment. The
 19 wrongly withheld documents include communications with BAYC NFT holders
 20 and communications about Defendants’ profit intent.
 21            Yuga Labs’ cross-examination demonstrated that Mr. Ripps lacks credibility
 22 as a witness. If Mr. Ripps lied before in multiple declarations under penalty of
 23 perjury, to evade his discovery obligations and hide incriminating evidence, it is
 24 reasonable to conclude that he lied to avoid the consequences of his infringement.
 25 Therefore, his entire declaration cannot be relied upon. Yuga Labs sufficiently
 26 challenged Mr. Ripps’ declaration, and its contradictions by the evidentiary record
 27 show it is unreliable. It should not be accepted as fact.
 28

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  1             Defendants’ Response:
  2            Defendants expressly reserve and reassert all responses made in the parties’
  3 Joint Statement Regarding Objections (Dkt. 421)
  4            Mr. Ripps’s declaration was uncontested because Yuga elected to forego any
  5 substantive cross-examination of Mr. Ripps on any portion of Mr. Ripps’s
  6 declaration. Trial Tr. [Ripps] 267:7-271:9. “Cross-examination is the principal
  7 means by which the believability of a witness and truth of his testimony are tested.”
  8 Davis v. Alaska, 415 U.S. 308, 316 (1974); Murdoch v. Castro, 365 F.3d 699, 702
  9 (9th Cir. 2004). Yuga’s decision to not cross-examine Mr. Ripps regarding any
 10 portion of his declaration means that “principle means” of testing Mr. Ripps
 11 credibility weighs decisively in favor of accepting Mr. Ripps’s declaration.
 12            Yuga incorrectly argues that Mr. Ripps’s declaration was challenged by other
 13 evidence in the trial record. Yuga did not show at trial that any of this other
 14 evidence in the trial record undermines Mr. Ripps’s testimony. Having failed to
 15 challenge Mr. Ripps’s testimony at trial, Yuga now seeks to take evidence, and
 16 testimony out of context and mischaracterize documents. This cannot remediate
 17 their election not to contest Mr. Ripps’s credibility at trial.
 18            Yuga incorrectly argues that Mr. Ripps’s testimony that ApeMarket was in
 19 the ideation stage and that he had not decided on what ApeMarket would be was
 20 somehow contradicted by Mr. Cahen’s testimony. Mr. Cahen repeatedly testified
 21 that ApeMarket was in the ideation stage. Trial Tr. [Cahen] 231:21-232:3; Cahen
 22 Decl. ¶¶ 258-259 (Dkt. 344). Other witness corroborated Mr. Ripps’s testimony that
 23 he had not decided what ApeMarket would be. Trial Tr. [Hickman] 211:19-22.
 24            Yuga also incorrectly argues that the trial record contradicts Mr. Ripps’s
 25 declaration regarding his intent in creating the RR/BAYC collection. Ripps Decl.
 26 ¶¶ 182-184 (Dkt. 346) (uncontested). Significant evidence in the record
 27 corroborates Mr. Ripps’s statements that the project was artistic. Defendants’
 28 communications about the RR/BAYC project confirm that their intent. In private

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  1 group chats among participants in the RR/BAYC project (JTX-801, 803-804), Mr.
  2 Ripps and Mr. Cahen discussed their intended artistic purpose, their intent to
  3 criticize Yuga, and their intent that social media platforms be used educationally.
  4 JTX-801.00010, 012-13, 146, 196, 240, 276, 328-29, 353-354; JTX-803.0003-05,
  5 08, 29-30. Defendants’ online discussion also confirms their intent. In those
  6 discussions, Defendants discussed what they believed to be inappropriate
  7 messaging in Yuga’s imagery and how the RR/BAYC project shows that NFTs are
  8 not digital images. Ripps Decl. ¶¶ 148-157 (Dkt. 346) (uncontested); Cahen Decl.
  9 ¶¶ 151, 208-209 (Dkt. 344); Dkt. 197-1 ¶¶ 203-04. The correspondence that
 10 Defendants received shows that their goals were successful. Ripps Decl. ¶¶ 198-
 11 205 (Dkt. 346) (uncontested); JTX-2033; JTX-2035; JTX-2039; JTX-2590; JTX-
 12 2592; JTX-2595; JTX-2596; JTX-2599.
 13            Yuga incorrectly argues that this evidence regarding Mr. Ripps’s intent has
 14 been refuted citing JTX-1574 to suggest that Mr. Ripps privately said that he
 15 intended to make a million dollars from the RR/BAYC artwork. But in reality, the
 16 document contains no such statement from Mr. Ripps. Mr. Ripps only said. Mr.
 17 Ripps was laughing at a joke made by Mr. Cahen. And Mr. Ripps in the same
 18 exchange later stated that he needs “to get a front end” in response to more jokes
 19 from Mr. Cahen. Id.
 20            Yuga also cites the unreliable Declaration of Mr. Solano. Mr. Solano is not
 21 credible given the many false and misleading statements contained in his
 22 declaration and repetitive impeachment at trial. Trial Tr. [Solano] 48:15-49:4;
 23 38:14-16; 38:17-19; 32:19-33:11; 34:9-19. Mr. Solano and Yuga rely on the phrase
 24 “business venture” in Mr. Lehman’s declaration, without having considered that the
 25 phrase “business venture” was selected by Yuga’s counsel, and that Mr. Lehman
 26 would have liked to use different words. Id at 40:3-14, and thus it does not
 27 undermine Mr. Ripps’s intent.
 28

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  1            Yuga then incorrectly argues that Mr. Ripps’s statement about his intent is
  2 refuted by comments from other members of the RR/BAYC project. But these
  3 statements show no such thing. Yuga’s cites Mr. Cahen’s statement in JTX-
  4 801.208 to undermine intent. Mr. Cahen explained the whole point of broad
  5 exposure through the RR/BAYC collection was “spreading and magnifying
  6 criticism of Yuga.” Cahen Decl. (Dkt. 344) ¶ 98. Mr. Cahen’s private
  7 communications in the same exhibit (JTX-801) confirm that the RR/BAYC
  8 collection was created for artistic criticism. JTX-801.00010; 00012-13; 00196)
  9            Yuga also cites to Mr. Lehman’s declaration to suggest that Defendants
 10 considered the RR/BAYC collection to be a “business venture.” Defendants never
 11 used the term “business venture” to describe the RR/BAYC project. In fact, the
 12 only place where the term appears is in Mr. Lehman’s declaration, which Mr.
 13 Lehman felt compelled to sign. This fact was not considered by Mr. Solano when
 14 he used introduced the term into trial. Trial Tr. [Solano] 37:20-22; 40:3-14. Yuga’s
 15 attorneys, not Mr. Lehman or the Defendants, coined the term “business venture”
 16 and therefore it cannot be used as evidence of intent to confuse.
 17            Lastly, Yuga argues that it somehow challenged Mr. Ripps’s trial declaration
 18 through its cross-examination of Mr. Ripps concerning his earlier January 17, 2023,
 19 verification. But Yuga’s cross-examination did not result in any impeachment or
 20 inconsistency. Mr. Ripps testified that he believed he produced all documents
 21 relating to the creation of RR/BAYC. Trial Tr. [Ripps] 268:5-11. Mr. Ripps further
 22 explained that he produced everything despite possible harm from it. Id. at 270:3-
 23 18. Mr. Ripps further testified that Yuga had sought sanctions multiple times based
 24 on Yuga’s false accusations of discovery misconduct, and that this Court denied all
 25 of Yuga’s baseless motions. Trial Tr. [Ripps] 269:21-270:2. Mr. Ripps’s trial
 26 testimony is no surprise given that the verification stated “[I] produced all
 27 responsive documents that I have been able to locate after a reasonable search” and
 28 further stated “I also understand that discovery obligations are continuing, and I

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  1 will produce any additional responsive materials or information to the extent any
  2 are found based on a reasonable investigation. I reserve the right to make changes
  3 or additions to any of these answers or document productions if it appears at any
  4 time that errors or omissions have been made or if more accurate or complete
  5 information becomes available.” Dkt. 109-33 (emphasis added). Mr. Ripps fulfilled
  6 his discovery obligations and upheld his verification by providing all the responsive
  7 material he located after a reasonable search to the best of his knowledge.
  8            The context and accurate content of the evidence Yuga cites shows that the
  9 trial record does not contradict any portion of Mr. Ripps’s declaration. Yuga had
 10 an opportunity to fully vet its false allegations at trial through cross-examination of
 11 Mr. Ripps but elected not to do so. Mr. Ripps’s testimony was therefore
 12 unchallenged.
 13            Ultimately, there is no evidence of intent to confuse. In fact, the trial record
 14 confirmed that no one is aware of a single instance of actual confusion. Ripps
 15 Decl. ¶ 223 (Dkt. 346) (uncontested); Trial Tr. [Cahen] 265:11-18; Cahen Decl. ¶¶
 16 222, 224 (Dkt. 344); Trial Tr. [Solano] 18:23-19:1; Trial Tr. [Muniz] 85:3-7 (“Q.
 17 Now let’s focus on, I think, what you were focused on. Yuga Labs has been unable
 18 to identify even[] a single person who purchased an RR/BAYC believing it to be
 19 sponsored by Yuga Labs; right? A Correct.”). Instead the trial record, including
 20 Mr. Ripps’s uncontested declaration that was not contradicted or subject to cross-
 21 examination, shows an intent to create art.
 22             Plaintiff’s Reply:
 23             Mr. Ripps’ trial declaration is neither unchallenged nor uncontested. Yuga
 24 Labs’ cross-examination of Mr. Ripps and the evidence admitted at trial
 25 demonstrate that Mr. Ripps lied to protect his profitable scam. That Yuga Labs
 26 opted not to give Mr. Ripps a bully pulpit to extrapolate on his already inaccurate
 27 testimony does not alter the fact that his declaration is unreliable.
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  1            The Court should reject Defendants’ responses because, as discussed herein,
  2 (1) evidence admitted at trial discredits Mr. Ripps’ trial declaration and (2)
  3 Defendants’ attempts to pass their infringement off as a joke are unavailing.
  4 Additionally, as addressed more directly in relevant sections: (1) Defendants’
  5 attempts to pass their infringement off as a joke are unavailing (infra ¶ 4), (2)
  6 Defendants fail to rebut Mr. Ripps’ profit motives as evidenced in his text messages
  7 (infra ¶ 4), (3) Ape Market was operational and ready to launch (infra ¶ 116), (4)
  8 Defendants were not motivated by artistic intent (infra ¶ 10), (5) Defendants’
  9 unreliable communications with third-parties do not negate evidence of actual
 10 confusion or the likelihood of post-sale confusion (infra ¶ 11), (6) there is ample
 11 evidence of actual confusion in the record (infra ¶ 32), (7) Defendants fail to
 12 impeach Mr. Solano’s accurate testimony (infra ¶ 8), (8) Mr. Lehman’s declaration
 13 is truthful (infra at ¶ 58), (9) confused consumers are unlikely to admit that they
 14 have fallen for Defendants’ scam (infra ¶ 11), and (10) Mr. Ripps’ excuses for his
 15 discovery violation are not credible (infra ¶ 4).
 16            Evidence Admitted At Trial Demonstrates That Mr. Ripps’ Declaration
 17 Is Not Reliable: Mr. Ripps’ testimony conflicts with significant documentary and
 18 testimonial evidence admitted at trial and is therefore unreliable. Defendants’
 19 argument that the Court must accept Mr. Ripps’ testimony as true violates the basic
 20 judicial tenet that a finder of fact shall weigh the evidence and assess the credibility
 21 of witnesses. Murray v. U.S., No. C-04-3707 SC, 2006 WL 1708220, at *2 (N.D.
 22 Cal. June 19, 2006) (“In bench trials, it is the judge’s duty to weigh the evidence,
 23 assess the credibility of witnesses, and decide questions of fact and issues.”).
 24            Defendants’ Infringement Was Not A Joke: Defendants’ attempts to laugh
 25 off Mr. Ripps’ profit motive are unavailing. Even a cursory review of the text
 26 messages contained in JTX-1574 demonstrate that this was not a sarcastic
 27 conversation. To begin, Mr. Ripps said “lolol” before Mr. Cahen told him that he
 28 would “make like a million dollars” by airdropping NFTs to RR/BAYC purchasers.

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  1 Indeed, Mr. Cahen explicitly states that he “honestly” believes that Mr. Ripps stood
  2 to make a million dollars. Id. This was no joke, rather it was Mr. Cahen’s genuine
  3 business proposition. Mr. Ripps’ reply is likewise serious, stating that Defendants
  4 “need to get a front end for this shit” in order to facilitate that payday. Id. Mr.
  5 Cahen then responded that they “already have ape market” to further their business
  6 payday. Mr. Cahen’s admission on Ape Market further undermines Mr. Ripps’
  7 declaration and Defendants’ response to this objection, as well as Defendants’
  8 repeated refrain that Ape Market was not ready to launch. Id. Other text messages
  9 confirm Defendants’ profit motive. In one such exchange Mr. Cahen tells Mr.
 10 Ripps that he thinks Mr. Ripps is “gonna make like millions” followed up by “no
 11 cap.” JTX-1586. No cap is colloquial for “no joke,” which directly rebuts
 12 Defendants’ self-serving humor narrative. Mr. Ripps responded with “ok cool”
 13 indicating that he was pleased to be making so much money. Id. There is no
 14 indication that these text messages were meant to be jokes, because they were not.
 15 And even if Defendants found what they were doing funny, that does not excuse
 16 their intentional use of the BAYC Marks in a manner likely to confuse consumers.
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